                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

              -vs-                                                Case No. 08-CR-53


KEITH CALLAHAN,

                      Defendant.

                              DECISION AND ORDER


       Defendant, Keith Callahan (“Callahan”) has requested a sentence reduction

pursuant to the Fair Sentencing Act/Amendment 750. He requests relief under 18

U.S.C. § 3582(c)(2) and United States Sentencing Guideline Section 1B1.10.

       Because these laws do not impact the sentence that the Court gave Callahan,

his relief cannot be granted. Callahan was sentenced to 125 months after a motion by

the government to reduce his guideline sentence from the then-existing range of 151-

188 months. Callahan had his range of sentence reduced to 125-156 months because

of a 5K1.1 motion, and the Court sentenced him to the low end of the range (the

statutory minimum mandatory sentence was 120 months).

       Because of the above, Callahan’s motion must be denied.




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      IT IS HEREBY ORDERED THAT:

      Callahan’s motion for retroactive application of sentencing guidelines (ECF

No. 1559) is DENIED.

      Dated at Milwaukee, Wisconsin, this 3rd day of February, 2014.



                                              BY THE COURT:


                                              __________________________
                                              HON. RUDOLPH T. RANDA
                                              U.S. District Judge




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